              Case 2:21-cv-00382-RSM Document 22 Filed 10/19/21 Page 1 of 3




 1                                                       HONORABLE RICARDO S. MARTINEZ

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 7                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9   CHANDLER HOMES, L.L.C., a Washington limited
     liability company,                                         Case No. 2:21-cv-00382-RSM
10
                                                                STIPULATED BRIEFING
                                          Plaintiff,
11                                                              SCHEDULE FOR CROSS-
                                                                MOTIONS FOR SUMMARY
12           v.                                                 JUDGMENT

13   TOLL BROS., INC., a Pennsylvania company,                  NOTE ON MOTION
                                                                CALENDAR: OCTOBER 7, 2021
14                                      Defendant.
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              Plaintiff Chandler Homes, L.L.C. and Defendant Toll Bros., Inc. enter into this
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     stipulation regarding cross-motions for summary judgment. On September 23, 2021, Chandler
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     submitted a motion for summary judgment. Toll wishes to cross-move for summary judgment.
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     The parties wish to avoid duplicative briefing. Under Local CR 7(k), “Parties anticipating filing
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     cross motions are encouraged to agree on a briefing schedule and to submit it to the court for
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     approval through a stipulation and proposed order. The court may order parties filing cross
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     motions for summary judgment to combine their memoranda and forego reply briefs in
23
     exchange for an enlarged response brief.”
24
              The parties stipulate to and propose the following briefing schedule:
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26

     STIPULATION REGARDING CROSS-
     MOTIONS FOR SUMMARY JUDGMENT - 1                                                 K&L GATES LLP
     Case No. 2:21-cv-00382-RSM                                                     925 FOURTH AVENUE
                                                                                         SUITE 2900
     310923580.1                                                              SEATTLE, WASHINGTON 98104-1158
                                                                                 TELEPHONE: (206) 623-7580
                                                                                  FACSIMILE: (206) 623-7022
              Case 2:21-cv-00382-RSM Document 22 Filed 10/19/21 Page 2 of 3




 1    Filing Name                    Due Date                       Page Limit

 2    Plaintiff Chandler Homes, September 23, 2021 (already 24 Pages
      L.L.C.’s    Motion    for filed)
 3    Summary Judgment
 4    Defendant Toll Bros., Inc.’s October 25, 2021                 30 Pages
      Opposition to Plaintiff’s
 5    Motion     for   Summary
      Judgment, and Cross-Motion
 6
      for Summary Judgment
 7    Plaintiff Chandler Homes, November 22, 2021                   30 pages
      L.L.C.’s   Opposition   to
 8
      Defendant’s Cross-Motion
 9    for Summary Judgment, and
      Reply in Support of Motion
10    for Summary Judgment
11    Defendant Toll Bros., Inc.’s December 10, 2021                12 Pages
      Reply in Support of Cross-
12    Motion    for    Summary
      Judgment
13
      Noting date      for   Cross- December 10, 2021
14    Motions
15
              The parties further agree to confer on a schedule and to present their respective
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     witnesses for the depositions of Mark Putzke, Sheri Putzke, and Toll Bros., Inc., each to take
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     place on or before November 12, 2021.
18
                    IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
19

20   DATED: October 7, 2021                      By /s/ Brittany J. Faulkner
                                                      Brian M. Muchinsky, WSBA No. 31860
21                                                    Brittany J. Faulkner, WSBA No. 54457
                                                      10500 NE 8th Street Ste 930
22                                                    Bellevue, WA 98004
                                                      Phone: (425) 289-5555
23
                                                      Email: bmuchinsky@noldmuchlaw.com
24                                                            bfaulkner@noldmuchlaw.com

25                                                    Attorneys for Plaintiff Chandler Homes,
                                                      L.L.C.
26

     STIPULATION REGARDING CROSS-
     MOTIONS FOR SUMMARY JUDGMENT - 2                                             K&L GATES LLP
     Case No. 2:21-cv-00382-RSM                                                  925 FOURTH AVENUE
                                                                                      SUITE 2900
     310923580.1                                                           SEATTLE, WASHINGTON 98104-1158
                                                                              TELEPHONE: (206) 623-7580
                                                                               FACSIMILE: (206) 623-7022
              Case 2:21-cv-00382-RSM Document 22 Filed 10/19/21 Page 3 of 3




 1
     DATED: October 7, 2021                      By /s/ Peter A. Talevich
 2                                                    Peter A. Talevich, WSBA No. 42644
                                                      Ryan Hebert, WSBA No. 51294
 3                                                    925 Fourth Avenue, Suite 2900
                                                      Seattle, WA 98104
 4
                                                      Phone: (206) 623-7580
 5                                                    E-mail: peter.talevich@klgates.com
                                                               ryan.hebert@klgates.com
 6
                                                      Attorneys for Defendant Toll Bros., Inc.
 7

 8            PURSUANT TO STIPULATION, IT IS SO ORDERED.
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10            DATED this 19th day of October, 2021.
11

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14                                               A
                                                 RICARDO S. MARTINEZ
15                                               CHIEF UNITED STATES DISTRICT JUDGE

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     STIPULATION REGARDING CROSS-
     MOTIONS FOR SUMMARY JUDGMENT - 3                                            K&L GATES LLP
     Case No. 2:21-cv-00382-RSM                                                 925 FOURTH AVENUE
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